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 7   Home Equity Loan Trust, Series 2005-D, Asset Backed Pass-Through Certificates
 8                               UNITED STATES DISTRICT COURT
 9                                    DISTRICT OF NEVADA

10   DEUTSCHE BANK NATIONAL TRUST                        Case No.: 2:20-cv-01706-APG-VCF
     COMPANY AS TRUSTEE FOR NEW
11   CENTURY HOME EQUITY LOAN TRUST,
12   SERIES 2005-D, ASSET BACKED PASS-                   MOTION FOR EXTENSION TO FILE
     THROUGH CERTIFICATES,                               RESPONSE TO MOTION TO DISMISS
13                                                       [ECF No. 9]
                          Plaintiff,
14                                                       (Third Request)
            vs.
15
     WESTCOR LAND TITLE INSURANCE
16   COMPANY; DOE INDIVIDUALS I through X;
     and ROE CORPORATIONS XI through XX,
17   inclusive,

18                         Defendants.
            Plaintiff, Deutsche Bank National Trust Company as Trustee for New Century Home
19
     Equity Loan Trust, Series 2005-D, Asset Backed Pass-Through Certificates, by and through its
20
     counsel of record, respectfully moves for an Order extending its deadline to file a Response to
21
     Defendant Westcor Land Title Insurance Company’s (Westcor) Motion to Dismiss [ECF No. 9].
22
            On September 22, 2020, Westcor filed a motion to dismiss [ECF No. 9]. Responses to the
23
     Motion were due by October 6, 2020. Westcor subsequently agreed to an extension of fourteen
24
     days to October 20, 2020 [ECF No. 13]. Realizing additional time was required, plaintiff
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     requested an additional extension of one week. In response, Westcor was only agreeable to an
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     extension of two days [ECF No. 18]. Plaintiff accepted that extension with the promise to, in
27
     good faith, attempt to meet the deadline while reserving the right to move for additional time.
28



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 1          Plaintiff has attempted to meet the current deadline, but does not believe it will be able to
 2   do so without compromising the quality of the briefing. This extension is required, in part,
 3   because plaintiff’s counsel was out of town for much of the past several days, and had other
 4   immediate deadlines that arose upon his return. In addition, in the process of preparing the
 5   opposition, plaintiff has determined it appropriate to file a countermotion for summary judgment.
 6   Plaintiff believes it makes more sense that the countermotion for summary judgment be filed
 7   simultaneously with the opposition to the motion to dismiss (one document filed twice to comply
 8   with local rules).
 9          Accordingly, plaintiff respectfully requests an additional two weeks to respond to the
10   pending motion to do dismiss. If that court does not believe that appropriate, at a minimum,
11   plaintiff’s counsel respectfully requests through the weekend to work on the opposition and
12   countermotion until October 26, 2020.
13          This is the third request for an extension of time for plaintiff to file a response to
14   Westcor’s Motion to Dismiss. The extension is requested in good faith and is not for purposes of
15   delay or prejudice to any other party.
16          DATED this 21st day of October, 2020.
                                                          WRIGHT, FINLAY & ZAK, LLP
17
18                                                        /s/ Darren T. Brenner, Esq.
                                                          Darren T. Brenner, Esq.
19                                                        Nevada Bar No. 8386
20                                                        Lindsay D. Robbins, Esq.
                                                          Nevada Bar No. 13474
21                                                        7785 W. Sahara Ave., Suite 200
                                                          Las Vegas, NV 89117
22                                                        Attorneys for Plaintiff, Deutsche Bank
23                                                        National Trust Company as Trustee for
                                                          New Century Home Equity Loan Trust,
24                                                        Series 2005-D, Asset Backed Pass-Through
                                                          Certificates
25
                                                          IT IS SO ORDERED:
26
                                                          ___________________________________
27                                                        UNITED STATES DISTRICT JUDGE
28                                                                October 21, 2020
                                                          DATED: _________________________



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 1                               CERTIFICATE OF SERVICE
 2          I HEREBY CERTIFY that I am an employee of WRIGHT, FINLAY & ZAK, LLP and
 3   that I served the foregoing MOTION FOR EXTENSION TO FILE RESPONSE TO
 4   MOTION TO DISMISS [ECF No. 9] on the 21st day of October, 2020, to all parties on the
 5   CM/ECF service list.
 6
 7
                                     /s/ Jason Craig                         .
 8                                   An Employee of WRIGHT, FINLAY & ZAK, LLP
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